                                  Case 6:19-cv-00709-ADA Document 1-5 Filed 12/13/19 Page 1 of 1
JS 44 (Rev. 06/17)                                                       CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                        DEFENDANTS

           Onstream Media Corporation                                                                             Lifesize, Inc.


   (b) County of Residence of First Listed Plaintiff                                                     County of Residence of First Listed Defendant
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)
           The Mort Law Firm, PLLC
           100 Congress Ave, Suite 2000, Austin, TX 78701
           (512) 865-7950
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)                                        and One Box for Defendant)
  1    U.S. Government                  3 Federal Question                                                                   PTF        DEF                                          PTF      DEF
         Plaintiff                          (U.S. Government Not a Party)                      Citizen of This State           1              1   Incorporated or Principal Place         4      4
                                                                                                                                                    of Business In This State

  2    U.S. Government                  4 Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place        5       5
         Defendant                          (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                               Citizen or Subject of a             3          3   Foreign Nation                          6       6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                        Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                           FORFEITURE/PENALTY                        BANKRUPTCY                      OTHER STATUTES
   110 Insurance                       PERSONAL INJURY                 PERSONAL INJURY            625 Drug Related Seizure             422 Appeal 28 USC 158            375 False Claims Act
   120 Marine                          310 Airplane                    365 Personal Injury -          of Property 21 USC 881           423 Withdrawal                   376 Qui Tam (31 USC
   130 Miller Act                      315 Airplane Product                Product Liability      690 Other                                28 USC 157                       3729(a))
   140 Negotiable Instrument                Liability                  367 Health Care/                                                                                 400 State Reapportionment
   150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                              PROPERTY RIGHTS                  410 Antitrust
       & Enforcement of Judgment            Slander                        Personal Injury                                             820 Copyrights                   430 Banks and Banking
   151 Medicare Act                    330 Federal Employers’              Product Liability                                           830 Patent                       450 Commerce
   152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                           835 Patent - Abbreviated         460 Deportation
       Student Loans                   340 Marine                          Injury Product                                                  New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)             345 Marine Product                  Liability                                                   840 Trademark                        Corrupt Organizations
   153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                     LABOR                      SOCIAL SECURITY                  480 Consumer Credit
       of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud            710 Fair Labor Standards             861 HIA (1395fi)                 490 Cable/Sat TV
   160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending            Act                             862 Black Lung (923)             850 Securities/Commodities/
   190 Other Contract                      Product Liability           380 Other Personal         720 Labor/Management                 863 DIWC/DIWW (405(g))               Exchange
   195 Contract Product Liability      360 Other Personal                  Property Damage             Relations                       864 SSID Title XVI               890 Other Statutory Actions
   196 Franchise                           Injury                      385 Property Damage        740 Railway Labor Act                865 RSI (405(g))                 891 Agricultural Acts
                                       362 Personal Injury -               Product Liability      751 Family and Medical                                                893 Environmental Matters
                                           Medical Malpractice                                         Leave Act                                                        895 Freedom of Information
       REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS          790 Other Labor Litigation           FEDERAL TAX SUITS                    Act
   210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:             791 Employee Retirement              870 Taxes (U.S. Plaintiff        896 Arbitration
   220 Foreclosure                     441 Voting                      463 Alien Detainee             Income Security Act                  or Defendant)                899 Administrative Procedure
   230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                           871 IRS—Third Party                  Act/Review or Appeal of
   240 Torts to Land                   443 Housing/                        Sentence                                                        26 USC 7609                      Agency Decision
   245 Tort Product Liability              Accommodations              530 General                                                                                      950 Constitutionality of
   290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty              IMMIGRATION                                                           State Statutes
                                           Employment                  Other:                     462 Naturalization Application
                                       446 Amer. w/Disabilities -      540 Mandamus & Other       465 Other Immigration
                                           Other                       550 Civil Rights               Actions
                                       448 Education                   555 Prison Condition
                                                                       560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original              2 Removed from                     3      Remanded from            4 Reinstated or             5 Transferred from        6 Multidistrict      8 Multidistrict
    Proceeding              State Court                             Appellate Court            Reopened                    Another District            Litigation -       Litigation -
                                                                                                                      (specify)                        Transfer          Direct File
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                   35 U.S.C. § 1 et seq.
VI. CAUSE OF ACTION                     Brief description of cause:
                                        Patent Infringement
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                   DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                       JURY DEMAND:             Yes        No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                         JUDGE                                                             DOCKET NUMBER
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
           December 13, 2019                                           /s/ Raymond W. Mort, III
FOR OFFICE USE ONLY

  RECEIPT #                      AMOUNT                                   APPLYING IFP                                   JUDGE                          MAG. JUDGE
